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                                UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF COLUMBIA
UNITED STATES OF AMERICA,


               Plaintiff,

                       v.
$37,564,565.25 in ACCOUNT NUMBER                       Civil Action No. 18-cv-2795
XXXXXXXX9515 AT MORGAN STANLEY,
IN THE NAME OF ANICORN LLC;

$21,113.21 in ACCOUNT NUMBER
XXXXXX9537 AT WELLS FARGO, N.A., IN
THE NAME OF ARTEMUS GROUP, LLC;

$25,002,568.63 in ACCOUNT NUMBER
XXXXXX1078 AT CITIBANK, IN THE
NAME OF HIGGINBOTHAM LAW P.C.;

$11,314,205.00 in ACCOUNT NUMBER
XXXXXX9974 AT CITIBANK, IN THE
NAME OF HIGGINBOTHAM LAW P.C.;

               Defendants in rem.



                       VERIFIED COMPLAINT FOR FORFEITURE IN REM

       COMES NOW, Plaintiff, the United States of America, by and through the United States

Department of Justice and its undersigned attorneys, and brings this verified complaint for forfeiture in a

civil action in rem against funds contained in various bank accounts. In support of its case, plaintiff states

as follows:

                                NATURE OF THE ACTION

       1.      This is a civil action in rem to forfeit to the United States the above-captioned Defendant

Properties to the use and benefit of the Plaintiff, the United States of America. The Defendant Properties

are subject to forfeiture pursuant to Title 18, United States Code, Section 981 (a)(1)(C), as property
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constituted or derived from proceeds traceable to an offense constituting specified unlawful activity as

defined in Title 18, United States Code, Sections 1956(c)(7) and 1961(1). These specified unlawful

activities include, but are not limited to: bank fraud, in violation of Title 18, United States Code, Section

1344; conspiracy to commit bank fraud, in violation of Title 18, United States Code, Section 371; and

making false statements to a financial institution, in violation of Title 18, United States Code, Section

1014. The Defendant Properties are also subject to forfeiture pursuant to Title 18, United States Code

Section, 981(a)(1)(A), as property involved in a transaction or attempted transaction in violation of Title

18, United States Code, Sections 1956(a)(1)(B)(i), 1956(a)(2)(B)(i), 1956(h), and 1957, and as property

traceable to any such property.

       2.      For its claims against the Defendant Properties, the United States alleges as follows upon

information and belief.

                                  THE DEFENDANT PROPERTIES

       3.      The Defendant Properties consist of:

               a. $37,564,565.25 in bank funds seized from Account Number XXXXXXXX9515 at

                   Morgan Stanley, held in the name of Anicorn, LLC (“ANICORN ACCOUNT”), on

                   March 9, 2018, pursuant to a federal seizure warrant issued upon a finding of probable

                   cause by the Honorable Robin Meriweather of the U.S. District Court for the District

                   of Columbia;

               b. $21,113.21 in bank funds seized from Account Number XXXXXX9537 at Wells

                   Fargo Bank, N.A., held in the name of Artemus Group, LLC (“ARTEMUS

                   ACCOUNT”), on July 2, 2018, pursuant to a federal seizure warrant issued upon a

                   finding of probable cause by the Honorable G. Michael Harvey of the U.S. District

                   Court for the District of Columbia ;



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                c. $25,002,568.63 in bank funds seized from Account Number XXXXXX1078 at

                    Citibank, held in the name of Higginbotham Law P.C. (“HIGGINBOTHAM 1078

                    ACCOUNT”), on January 10, 2018, and February 27, 2018, pursuant to a federal

                    seizure warrant issued upon a finding of probable cause by the Honorable Deborah A.

                    Robinson of the U.S. District Court for the District of Columbia; and

                d. $11,314,205.00 in bank funds seized from Account Number XXXXXX9974 at

                    Citibank, held in the name of Higginbotham Law P.C. (“HIGGINBOTHAM 9974

                    ACCOUNT”), on January 10, 2018, pursuant to a federal seizure warrant issued upon

                    a finding of probable cause by the Honorable Deborah A. Robinson of the U.S. District

                    Court for the District of Columbia.

                                     JURISDICTION AND VENUE

       4.       Plaintiff brings this action in rem in its own right to forfeit the Defendant Properties. This

Court has subject matter jurisdiction over an action commenced by the United States, pursuant to Title 28,

United States Code, Section 1345, and over an action for forfeiture, pursuant to Title 28, United States

Code, Section 1355(a). This Court also has jurisdiction over this particular action pursuant to Title 18,

United States Code, Section 981.

        5.      This Court has in rem jurisdiction over the Defendant Properties pursuant to Title 28,

United States Code, Section 1355(b)(1).

        6.      Venue is proper in this district pursuant to Title 28, United States Code,

Section 1355(b)(1)(A) because acts and omissions giving rise to the forfeiture took place in this district,

and pursuant to Title 28, United States Code, Section 1395(b), because certain of the Defendant Properties

are located in this district.




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                                       FACTUAL ALLEGATIONS

I.     The Scheme to Launder JHO LOW’s Money into the United States for Lobbying Purposes

       7.      In 2017, a Malaysian businessman named Low Taek Jho (JHO LOW) funneled tens of

millions of dollars into the United States to pay individuals to lobby high-level U.S. government officials

to influence, inter alia, an ongoing U.S. Department of Justice (DOJ) criminal investigation of JHO LOW

and related civil forfeiture proceedings over numerous of JHO LOW’s assets. As described in greater

detail below, JHO LOW’s money was funneled through various U.S. bank accounts set up by, and under

the control of, an entertainer and businessman named Prakazrel “Pras” MICHEL. With the assistance of

George HIGGINBOTHAM, MICHEL opened multiple accounts at financial institutions in the United

States to maintain money funneled into the United States at JHO LOW’s direction; however, the true

source and purpose of the funds were not disclosed to the banks and were actively concealed from them.

MICHEL then disbursed JHO LOW’s funds to various individuals and entities to facilitate a lobbying

campaign to represent the interests of various foreign nationals and entities, including JHO LOW, in the

United States. At all relevant times, HIGGINBOTHAM, who was employed at DOJ in a non-lawyer

position, was not involved in any way in the DOJ’s investigation of JHO LOW and failed to influence

any aspect of DOJ’s investigation of 1MDB and JHO LOW.

       8.      Two of the individuals who received JHO LOW’s money through MICHEL and his

entities are INDIVIDUAL NO. 1 and INDIVIDUAL NO. 2. INDIVIDUAL NO. 1 owns several

businesses, including an investment firm. INDIVIDUAL NO. 2 is an associate of INDIVIDUAL NO. 1

and a longtime political fundraiser.

       9.      On or about October 3, 2018, JHO LOW was indicted on federal charges for conspiring

to violate the Foreign Corrupt Practices Act by paying bribes to foreign public officials and conspiring to

launder billions of dollars embezzled from 1Malaysia Development Berhad (1MDB), a strategic



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investment and development company that was wholly owned by the Government of Malaysia through

its Ministry of Finance. JHO LOW, together with others, is also alleged to have laundered hundreds of

millions of dollars of stolen 1MDB funds into the United States. This was accomplished through the

acquisition of a wide variety of assets, including luxury real estate and jewelry, the financing of

Hollywood motion pictures, and the alleged payment of bribes using the stolen funds.

       10.     In July 2016, DOJ filed multiple civil forfeiture complaints in the United States District

Court for the Central District of California seeking the forfeiture of over $1 billion in assets associated

with the laundering of funds misappropriated from 1MDB. The named assets in these civil forfeiture

complaints include, inter alia, several parcels of luxury real estate, interests in real estate development

projects, a luxury hotel in Beverly Hills, a jet aircraft, and “The Wolf of Wall Street” motion picture and

related royalties. JHO LOW was named in several of the civil forfeiture complaints as one of the primary

architects and beneficiaries of the 1MDB embezzlement scheme.

       A. MICHEL Agrees to Assist JHO LOW and Seeks Assistance from INDIVIDUAL NO. 2
          and INDIVIDUAL NO. 1

       11.     In 2016, JHO LOW’s brother sought MICHEL’s assistance with securing representation

for JHO LOW in the United States to assist him on the 1MDB civil forfeiture investigation. MICHEL

contacted INDIVIDUAL NO. 2, and INDIVIDUAL NO. 2 recommended retaining LAW ENTERPRISE

NO. 1, a law firm owned by INDIVIDUAL NO. 1’s wife from their personal residence.

       12.     After JHO LOW expressed interest in retaining INDIVIDUAL NO. 1 and LAW

ENTERPRISE NO. 1, MICHEL met in person with INDIVIDUAL NO. 1 and INDIVIDUAL NO. 2 and

explained JHO LOW’s situation in the 1MDB matters.

       13.     INDIVIDUAL NO. 1 indicated to MICHEL that although he was willing to assist JHO

LOW, he would not take any compensation directly from JHO LOW in exchange for his services.

Eventually, MICHEL and INDIVIDUAL NO. 1 agreed that MICHEL would act as an intermediary to

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pay INDIVIDUAL NO. 1. INDIVIDUAL NO. 1 wanted $15 million in compensation, but MICHEL

negotiated the price down to approximately $8 million.

       14.     On March 5, 2017, INDIVIDUAL NO. 2 emailed INDIVIDUAL NO. 1 a copy of the

“Wolf of Wall Street” civil forfeiture complaint filed by DOJ, seeking the forfeiture of the rights to the

motion picture “The Wolf of Wall Street.” That same day, INDIVIDUAL NO. 2 emailed INDIVIDUAL

NO. 1 a Bloomberg article titled “Jho Low Trusts Ask to File Late Claims in Forfeiture Lawsuits.”

       15.     On March 12, 2017, INDIVIDUAL NO. 2 emailed INDIVIDUAL NO. 1 and

INDIVIDUAL NO. 1’s assistant under the subject line, “Re: Meeting for [INDIVIDUAL NO. 1],

[INDIVIDUAL NO. 2] and Pras.” The body of the email read, in part, “We had to change this meeting

due to [INDIVIDUAL NO. 1]’s travel schedule - so per my conversation with [INDIVIDUAL NO. 1] --

Mtg with Pras will now be at 8:30 am -at the offices on Monday March 13th - and please also hold in

[INDIVIDUAL NO. 1]’s schedule 3:30 - 4:30 pm Monday (tomorrow) in case there is need for an

additional meeting.”     INDIVIDUAL NO. 1 responded that same day, “Great. Confirmed.”

INDIVIDUAL NO. 1’s assistant followed up by asking INDIVIDUAL NO. 2 which appointment she

wanted to keep, and INDIVIDUAL NO. 2 responded, “We are keeping both.”

       B. Use of LAW ENTERPRISE NO. 1 to Funnel Payments from JHO LOW to
          INDIVIDUAL NO. 1 and Creation of Anicorn, LLC and Artemus Group, LLC to
          Receive International Wires from JHO LOW

       16.     On March 13, 2017, INDIVIDUAL NO. 2 emailed MICHEL a draft retainer agreement

between LAW ENTERPRISE NO. 1 and JHO LOW. The draft agreement stipulated that JHO LOW

would pay an $8 million retainer fee upfront and an additional $75 million success fee if the “matter” was

resolved within 180 days, or $50 million if the “matter” was resolved within 365 days. The draft

agreement included an Exhibit A explaining that the “matter” referred to DOJ’s 1MDB forfeiture

proceedings.



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       17.    On March 20, 2017, a financial advisor for MICHEL, INDIVIDUAL NO. 4 established

two new limited liability companies in the State of Delaware: Anicorn, LLC, and Artemus Group, LLC.

Bank accounts for those two new entities were opened at City National Bank in California on or about

March 30, 2017.

       18.    On March 22, 2017, INDIVIDUAL NO. 2 emailed INDIVIDUAL NO. 1 about setting up

another meeting between her, INDIVIDUAL NO. 1, and MICHEL. The body of the email read, in part,

“Can we do a meeting with [INDIVIDUAL NO. 1] with Pras and me - Friday afternoon? Maybe around

4 pm? Let me know if that works for his schedule.” INDIVIDUAL NO. 1 responded that same day,

“Great. Looking forward to seeing you both.”

       19.    On April 6, 2017, MICHEL forwarded to HIGGINBOTHAM the draft retainer agreement

between LAW ENTERPRISE NO. 1 and JHO LOW. A few days later, on April 10, HIGGINBOTHAM

sent MICHEL an email with a draft “Consulting Agreement” between LAW ENTERPRISE NO. 1 and

Anicorn, LLC. The “Consulting Agreement” stated that Anicorn was “engaged in the business of

providing strategic consulting and risk management services to private and corporate clientele who are

require [sic] effective and efficient solutions to highly complex and highly confidential matters.” The

agreement stipulated that Anicorn would pay an $8 million retainer fee to LAW ENTERPRISE NO. 1 on

behalf of Anicorn’s “client,” along with a $75 million success fee if the “Asset Resolution Matter”

referred to in Exhibit A was resolved within 180 days, or $50 million if the “Asset Resolution Matter”

was resolved within 365 days. The draft “Consulting Agreement” included as Exhibit A the retainer

agreement between LAW ENTERPRISE NO. 1 and JHO LOW, as well as the separate Exhibit A to that

retainer agreement referring to the “matter” as DOJ’s 1MDB forfeiture proceedings.




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        20.    On April 28, 2017, HIGGINBOTHAM emailed MICHEL under the subject line, “Anicorn

w/ WuTang.”1 In the body of the email, HIGGINBOTHAM wrote, “Text me when you get this. I will

need names and account numbers to finish this.” The attached document was a postdated May 1, 2017

“Retainer and Fee Agreement – Consulting Agreement” between Anicorn and an unnamed “client,”

which stipulated to an initial retainer from the “client” to Anicorn of $25 million, and a success fee of

$300 million following successful resolution of the “matter.” Exhibit A to the agreement identified the

“matter” as DOJ’s 1MDB forfeiture proceedings.

        C. MICHEL, INDIVIDUAL NO. 2, and INDIVIDUAL NO. 1 Meet JHO LOW in
           Thailand

        21.    In early May 2017, MICHEL traveled to Thailand along with INDIVIDUAL NO. 2 and

INDIVIDUAL NO. 1 to meet with JHO LOW in person. On May 1, 2017, INDIVIDUAL NO. 2 emailed

INDIVIDUAL NO. 1 and INDIVIDUAL NO. 1’s assistant a link to the Shangri-La Hotel in Bangkok,

Thailand, and wrote, in part, “Please send me the hotel confirmation for both [INDIVIDUAL NO. 1]’s

room and mine once you get it online and I will forward.” That same day, INDIVIDUAL NO. 2 emailed

MICHEL telling him to book a room at the Shangri-La Hotel and to send her the confirmation. MICHEL

responded, “jo is booking our hotel,” and later followed up, “Also send me [INDIVIDUAL NO. 1]’s wire

info.” INDIVIDUAL NO. 2 replied by providing the wire information for an account in the name of

LAW ENTERPRISE NO. 1. Also that same day, in response to a question from INDIVIDUAL NO. 1’s

assistant about whether she should cancel INDIVIDUAL NO. 1’s hotel room reservation, INDIVIDUAL

NO. 2 emailed INDIVIDUAL NO. 1’s assistant, “Yes all rooms are booked by Pras already.”

        22.    On May 2, 2017, INDIVIDUAL NO. 2 emailed INDIVIDUAL NO. 1’s assistant and cc’d

INDIVIDUAL NO. 1 and MICHEL, “please send [INDIVIDUAL NO. 1]’s itinerary w flight info to me




1
    “Wu Tang” was a code name HIGGINBOTHAM and MICHEL used for JHO LOW.

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and Pras copied Here.” That same day, INDIVIDUAL NO. 2 emailed INDIVIDUAL NO. 1, “Since u

land earlier - Pras and I will see you at arrivals. International arrivals should all be in same area. Thanks

and bon voyage – here’s to the start of an exciting and prosperous adventure!” INDIVIDUAL NO. 1

responded, “Yes.”

       23.     During the meeting in Thailand, INDIVIDUAL NO. 1 advised JHO LOW that he would

sit down with JHO LOW’s legal team and figure out the best way to get to a settlement on the 1MDB

matters. MICHEL was also present at this meeting.

       D. JHO LOW’s Payments to the ANICORN ACCOUNT and Transfers to LAW
          ENTERPRISE NO. 1 After Thailand Trip

       24.     On May 8, 2017, following the meeting with JHO LOW in Thailand, the ANICORN

ACCOUNT2 received a wire transfer for approximately $2.8 million from an entity in Hong Kong called

Lucky Mark (HK) Trading Limited. Specifically, the $2.8 million was sent from Lucky Mark (HK)

Trading Limited’s Hong Kong bank account at the Industrial and Commercial Bank of China. Although

there is in fact a souvenir manufacturing company called “Lucky Mark International (HK) Limited,” that

company was formed in 2014, and that company was not the source of the wire transfers to the ANICORN

ACCOUNT. Lucky Mark (HK) Trading Limited is a corporate entity that exists in part to transfer JHO

LOW’s money. The $2.8 million transferred from Lucky Mark (HK) Trading Limited into Anicorn—as

well as all subsequent transfers from Lucky Mark (HK) Trading Limited—all constituted transfers of

funds believed to be in JHO LOW’s custody or control.




2
  As stated above, and detailed in Sections II-III below, the bank accounts for Anicorn and Artemus were
held at City National Bank prior to September 29, 2017. Thus, all references to transactions involving
the ANICORN ACCOUNT and the ARTEMUS ACCOUNT that take place before September 29, 2017,
actually refer to the predecessor incarnations of these accounts at City National Bank.



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       25.     Prior to the May 8, 2017 wire transfer, the balance in the ANICORN ACCOUNT was

approximately $48,000. That same day, MICHEL obtained a cashier’s check from the ANICORN

ACCOUNT for $702,000 payable to LAW ENTERPRISE NO. 1, which was immediately credited to the

LAW ENTERPRISE NO. 1 account. MICHEL also made a separate wire transfer of $48,000 to LAW

ENTERPRISE NO. 1 from the ANICORN ACCOUNT. Also that same day, CORPORATION NO. 23

transferred $250,000 to the LAW ENTERPRISE NO. 1 account, and $250,000 was transferred from the

ANICORN ACCOUNT to CORPORATION NO. 2 one day later. Prior to the $1 million in transfers on

May 8, 2017, the balance in the LAW ENTERPRISE NO. 1 account was approximately $3,000. By May

12, 2017, approximately $900,000 of the $1 million was transferred from the LAW ENTERPRISE NO.

1 account to one of INDIVIDUAL NO. 1’s business accounts.

       26.     On May 17, 2017, the ANICORN ACCOUNT received an additional approximately $3

million wire transfer from Lucky Mark (HK) Trading Limited. This was the only credit to the ANICORN

ACCOUNT since the May 8, 2017 wire transfer of approximately $2.8 million from Lucky Mark (HK)

Trading Limited. That same day, $3 million was transferred from the ANICORN ACCOUNT to the

LAW ENTERPRISE NO. 1 account, which at the time had a balance of approximately $1,720. The

following day, May 18, 2017, LAW ENTERPRISE NO. 1 transferred $500,000 to one of INDIVIDUAL

NO. 1’s business accounts and $900,000 to an account in the name of CORPORATION NO. 1, which is

an entity affiliated with INDIVIDUAL NO. 2. Within one week, LAW ENTERPRISE NO. 1 transferred

an additional $950,000 to one of INDIVIDUAL NO. 1’s business accounts.

       27.     On May 18, 2017, the day after CORPORATION NO. 1 received $900,000 from LAW

ENTERPRISE NO. 1, INDIVIDUAL NO. 2’s sister emailed INDIVIDUAL NO. 2 and wrote, in part,




3
  CORPORATION NO. 2 is an entity affiliated with one of MICHEL’s and JHO LOW’s business
associates.

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“Travel safe and Good luck.” INDIVIDUAL NO. 2 responded, in part, “Rest assured – I will let mom

know when any money is coming and I’m sure she will alert you – so u can get it from Pras. Unless told

otherwise from u via email – I will continue to give mom and dad their portion.” That same day,

INDIVIDUAL NO. 2’s sister emailed INDIVIDUAL NO. 2, copying their mother and father, under the

subject line “Fees.” The body of the email stated, in part, “Per a discussion, with mom and dad please

see below. And all monies or fees earned, (10% of Pras Michel and you) are to be given directly to me.

The agreement I have with dad is between and him and me [sic]. (Mom and dad are CC’d) Therefore,

and all all [sic] fees should be dispersed directly to me or designated entity, not to you and then to mom

or dad (as previously done).”

       28.     On May 25, 2017, the ANICORN ACCOUNT received a wire transfer of approximately

$2.7 million from Lucky Mark (HK) Trading Limited. This was the only credit to the ANICORN

ACCOUNT since the May 17, 2017 wire transfer of approximately $3 million from Lucky Mark (HK)

Trading Limited. The next day, May 26, approximately $2 million was transferred from the ANICORN

ACCOUNT to the LAW ENTERPRISE NO. 1 account. That same day, INDIVIDUAL NO. 1 emailed

INDIVIDUAL NO. 2, “Please call me.” Also that same day, LAW ENTERPRISE NO. 1 transferred

$600,000 to CORPORATION NO. 1 and $1 million to an account in the name of INDIVIDUAL NO. 1’s

wife. Within one week, an additional $650,000 was transferred from LAW ENTERPRISE NO. 1’s

account to one of INDIVIDUAL NO. 1’s business accounts.

       E. Efforts to Influence 1MDB Matters

       29.     Following the series of initial payments from Lucky Mark (HK) Trading Limited to the

ANICORN ACCOUNT—which totaled approximately $8.5 million—MICHEL, INDIVIDUAL NO. 1,

INDIVIDUAL NO. 2, and HIGGINBOTHAM, among others, were involved in efforts to influence the

1MDB investigation.



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       30.     On August 7, 2017, for example, INDIVIDUAL NO. 1’s assistant emailed INDIVIDUAL

NO. 1 under the subject line, “Malaysia Talking Points *Final*.” The body of the email contained a

series of talking points apparently prepared for MALAYSIAN OFFICIAL NO. 1 in anticipation of a

meeting between MALAYSIAN OFFICIAL NO. 1 and U.S. GOVERNMENT OFFICIAL NO. 1. One

of the talking points, for example, read, “[U.S. GOVERNMENT OFFICIAL NO. 1] may mention

[INDIVIDUAL NO. 1]’s name. If he does, I will confirm that I know [INDIVIDUAL NO. 1] and that

he wants a closer relationship between the USA and Malaysia.” Several other talking points focused

specifically on the 1MDB investigation and conveyed that U.S. involvement in the investigation was

unnecessary: “1MDB message on all levels this is being handles [sic] by Saudia [sic] Arabia and Abu

Dhabi, and Malaysia. Malaysian Attorney General has publically announced that no American has been

harmed by any 1MDB transaction[.] The involvement of US prosecutors has caused unnecessary tension

American [sic], and could cause a negative reaction among Malaysians[.] Malaysian Attorney General

have [sic] publically announced no harm has been caused to any investors[.] Finally, I will send

Malaysian Attorney General ahead of my visit to the US in September to meet [U.S. GOVERNMENT

OFFICIAL NO. 2]. I would like an introduction to [U.S. GOVERNMENT OFFICIAL NO. 3].”4

       F. Additional Payments to the ANICORN ACCOUNT and the ARTEMUS ACCOUNT

       31.     On August 9, 2017, the ANICORN ACCOUNT received an additional wire transfer of

approximately $12.8 million from Lucky Mark (HK) Trading Limited.

       32.     On August 24, 2017, an Artemus-affiliated account held at City National Bank received

approximately $10 million from Lucky Mark (HK) Trading Limited. On October 10, 2017, a check for

$1,782,052.13 in funds traceable to the funds wired to the Artmeus account on August 24, 2017, was


4
  INDIVIDUAL NO. 1 has alleged that his company was the victim of a cyber hacking incident, and
that the hackers released certain stolen emails to the media, including the August 7, 2017, email.
Likewise, INDIVIDUAL NO.1 has alleged that at least some of the stolen emails were manipulated
and/or fabricated by the hackers.

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deposited into an account at Morgan Stanley in the name of Artemus. On November 29, 2017,

approximately $1,254,119 was transferred from that Artemus-affiliated account at Morgan Stanley to the

ARTEMUS ACCOUNT at Wells Fargo.

       G. MICHEL and HIGGINBOTHAM meet with JHO LOW in Macau

       33.     Following this series of financial transactions, MICHEL and HIGGINBOTHAM traveled

to Macau, China in early September 2017 to meet with JHO LOW. Specifically, HIGGINBOTHAM and

MICHEL met with JHO LOW in Macau to discuss ways to continue to funnel JHO LOW’s money into

U.S. financial institutions to pay those involved in the lobbying campaign, such as INDIVIDUAL NO. 1

and INDIVIDUAL NO. 2, to resolve DOJ’s 1MDB investigation. Because JHO LOW was concerned

that U.S. banks would not allow him to transfer large sums of money in or through the United States

financial system, MICHEL and JHO LOW agreed to disguise JHO LOW as the source of the funds and

to use a cover story that would conceal from U.S. financial institutions JHO LOW’s connection to these

funds and, instead, claim that the funds were for entertainment purposes. In truth, JHO LOW and

MICHEL agreed that these funds would be used to pay those involved in the lobbying campaign to resolve

the 1MDB matter on JHO LOW’s behalf. JHO LOW, however, insisted that some of the money actually

go toward entertainment purposes, consistent with the “cover story.”

       H. Additional Transfers Into the ANICORN ACCOUNT and HIGGINBOTHAM’s
          Accounts

       34.     JHO LOW also came up with an idea to have HIGGINBOTHAM sign a power of attorney

for an account in the name of Red Rock IX Limited, a corporate entity that exists in part to transfer JHO

LOW’s money. HIGGINBOTHAM signed some documents to gain access to the Red Rock IX Limited

bank account with a Chinese state-owned bank, but he was never successful in obtaining access to the

assets in that bank account.




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       35.     Later that month, on September 17, 2017, INDIVIDUAL NO. 1 forwarded to

INDIVIDUAL NO. 2 an email with wire instructions for an account associated with INDIVIDUAL NO.

1’s wife, and wrote, “Here you go.” INDIVIDUAL NO. 2 responded, “Got it. Fingers crossed[.]”

INDIVIDUAL NO. 1 responded, “Thank you.” INDIVIDUAL NO. 2 followed up with INDIVIDUAL

NO. 1 later that same day, “Please send over for Pras a w9[.] From entity u deem appropriate.”

INDIVIDUAL NO. 1 responded, “Not sure W9 applies to corporations[.] Let me check.” Later that

same day, INDIVIDUAL NO. 1 and INDIVIDUAL NO. 2 received an email from INDIVIDUAL NO. 3

who wrote, “[INDIVIDUAL NO. 1] [,] Attached is the executed W-9 for [CORPORATION NO. 2].

Please contact me if you have need any [sic] additional information.” Attached to the email was a W-9

form for an entity named [CORPORATION NO. 2] executed that same day. INDIVIDUAL NO. 1

responded, “Thank you [INDIVIDUAL NO. 3].”

       36.     On September 20, 2017, the ANICORN ACCOUNT received a wire transfer from Lucky

Mark (HK) Trading Limited for approximately $30 million. A document dated September 13, 2017

purports to be a loan agreement between Lucky Mark and Anicorn apparently related to the $30 million

wire. The agreement noted that Anicorn was “in the business of International and Domestic Political

Advocacy, Crisis Management, Press and Media Consulting globally,” and that Lucky Mark was

“interested in considering an investment in” Anicorn. The agreement stipulated that Lucky Mark would

“loan” 25 million Euros (approximately $30 million) to Anicorn “for the purposes of working capital

and/or general corporate purposes of [Anicorn] and/or its subsidiaries or associated companies.” The

agreement appears to be signed by an associate of JHO LOW on behalf of Lucky Mark, and by

HIGGINBOTHAM on behalf of Anicorn. The purpose of the loan agreement was to conceal JHO LOW’s

involvement in the transaction and provide a cover story in the event banks or other regulators made

inquiries about the source and purpose of the funds.



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        37.     No additional transactions occurred following Anicorn’s receipt of the approximately $30

million dollars because City National Bank ended its relationship with Anicorn and Artemus on or about

September 29, 2017, and issued cashier’s checks to MICHEL for the remaining balances (totaling

approximately $37 million).

        38.     Around this time, MICHEL contacted HIGGINBOTHAM and told him that a certain

amount of money needed to come into the United States and be verifiable to those involved in the

lobbying campaign before moving forward. MICHEL asked where the money could be sent, and

HIGGINBOTHAM offered to have the money deposited into his attorney escrow account (the

HIGGINBOTHAM 1078 ACCOUNT) at Citibank in the District of Columbia.

        39.     On or about October 23, 2017, HIGGINBOTHAM received a wire transfer for

approximately $41 million to the HIGGINBOTHAM 1078 ACCOUNT from an entity in Hong Kong

called Red Rock IX Limited.        He subsequently transferred $25 million of those funds into the

HIGGINBOTHAM 9974 ACCOUNT, another Citibank account in the District of Columbia.

II.     False Statements Made to City National Bank Regarding the ANICORN ACCOUNT

        40.     As referenced above, the ANICORN ACCOUNT was one of the principal accounts used

to receive payments from JHO LOW. The ANICORN ACCOUNT was originally opened in City

National Bank in Los Angeles, California. It received multiple wire transfers totaling tens of millions of

dollars from a Hong Kong bank account held at Industrial and Commercial Bank of China, in the name

of Lucky Mark (HK) Trading Limited. On September 20, 2017, the ANICORN ACCOUNT received a

wire transfer from Lucky Mark (HK) Trading Limited for approximately $30 million in additional funds.

       41.      On July 21, 2017, City National Bank requested information from INDIVIDUAL NO. 4,

a representative of Anicorn, about the nature of the company and the purpose of the payments from Lucky




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Mark (HK) Trading Limited. INDIVIDUAL NO. 4 forwarded the request to HIGGINBOTHAM, asking

him to call to discuss after he had reviewed the request.

        42.     On September 19, 2017, City National Bank requested additional documents and

information related to the Anicorn/Lucky Mark transactions. This time, HIGGINBOTHAM responded

directly with a letter on letterhead from “Higginbotham Law, P.C.,” a legal entity formed by

HIGGINBOTHAM in the District of Columbia.                 In this letter, HIGGINBOTHAM stated that he

“represent[s] Mr. Pras Michel,” and explained that Lucky Mark (HK) Trading Limited is a souvenir, gift,

or novelty company and had retained Anicorn to identify counsel and other professionals to resolve “a

highly complex civil litigation matter.”       HIGGINBOTHAM provided the bank a certificate of

incorporation showing that Lucky Mark (HK) Trading Limited was incorporated in Hong Kong in July

2016, and claiming that “Lucky Mark is a souvenirs, gifts and novelty manufacturer and exporter.”

HIGGINBOTHAM did not mention to City National Bank the 1MDB civil forfeiture proceedings

discussed above, or MICHEL’s intent to use the funds in these accounts to assist JHO LOW. Nor was

JHO LOW’s connection with the funds deposited into the ANICORN ACCOUNT disclosed to City

National Bank.

        43.     The statement of HIGGINBOTHAM to City National Bank about the Anicorn funds was

false. Lucky Mark (HK) Trading Limited is not a souvenir or gift or novelty company. Nor was Lucky

Mark International (HK) Limited the true source of the wire transfers to Anicorn. The company that

transferred the funds to Anicorn—namely, Lucky Mark (HK) Trading Limited—was formed in 2016,

and appears to be affiliated with JHO LOW, and does not appear to carry on any legitimate business.

III.    False Statements Made to Morgan Stanley Regarding the ANICORN and ARTEMUS
        ACCOUNTS

        44.     On or about September 29, 2017, City National Bank terminated its relationship with

Anicorn and Artemus, and provided MICHEL with bank checks reflecting the balance of the accounts at


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the time they were closed. Shortly thereafter, these checks were provided to Morgan Stanley to open

investment management accounts in Anicorn’s and Artemus’s names, in which HIGGINBOTHAM was

listed as one of two account managers.

       45.     Shortly after the Anicorn and Artemus funds were moved to Morgan Stanley, and in

connection with the opening of accounts in the names of Anicorn and Artemus at Morgan Stanley,

HIGGINBOTHAM met with a Morgan Stanley employee in the District of Columbia to discuss the

opening of these accounts. HIGGINBOTHAM and MICHEL also participated in a conference call with

a Morgan Stanley representative.         During the call, the Morgan Stanley representative asked

HIGGINBOTHAM and MICHEL about the source and purpose of the funds that Anicorn and Artemus

were attempting to use to open the accounts at Morgan Stanley. In response to those questions, MICHEL

told the representative that the funds were for media consulting purposes. In addition, following

additional inquiries from a Morgan Stanley representative about the source and purpose of the funds,

HIGGINBOTHAM sent an email stating, in relevant part, that “the funds originated with Lucky Mark,

LTD (incorporation documents attached) who is an investor in a slate of projects the [sic] are currently

under review and subject to further discussion,” and that “the funds represent a good faith deposit

contemplating future investments.” These statements were false and misleading, as the funds were not

intended to be used principally for media consulting purposes or for investments. Rather, the funds were

principally intended to be disbursed to other third parties in the United States to advance JHO LOW’s

interests in having the 1MDB forfeiture litigation closed.

IV.    False Statements Made to Citibank Regarding HIGGINBOTHAM’s Attorney Escrow
       Account (the HIGGINBOTHAM 1078 ACCOUNT)

       46.     As referenced above, on or about October 23, 2017, HIGGINBOTHAM received a wire

transfer for approximately $41 million to his attorney escrow account (the HIGGINBOTHAM 1078

ACCOUNT) from an entity in Hong Kong called Red Rock IX Limited. Like the transfers from Lucky


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Mark (HK) Trading Limited, this $41 million transfer from Red Rock IX Limited was a means to funnel

money under JHO LOW’s control into the United States while disguising the nature and source of this

money, including, specifically, JHO LOW’s connection to the funds.

        47.     HIGGINBOTHAM, while in the District of Columbia, made false statements to Citibank

in his verbal responses to questions that he was asked by a Citibank representative in connection with the

transfer of the $41 million into his account from Red Rock. Specifically, HIGGINBOTHAM told

Citibank that those funds were a corporate investment for a media consulting venture. This statement

was false, as the funds had come from JHO LOW and were not to be used for a media consulting venture.

Rather, the funds were to be disbursed to other third parties in the United States to advance JHO LOW’s

interests.

       48.      In sum, the opening of the Anicorn and Artemus accounts, the transfer of money from

Lucky Mark (HK) Trading Limited into these accounts, and the transfer of money from Red Rock IX

Limited into HIGGINBOTHAM’s attorney escrow account were all part of a scheme to defraud U.S.

financial institutions by funneling JHO LOW’s money into the United States, so that this money could be

further transferred and disbursed to other third parties in the United States to advance, among other things,

JHO LOW’s interests. MICHEL, HIGGINBOTHAM, JHO LOW, and others disguised the fact that the

funds came from JHO LOW because they believed no U.S. bank would accept JHO LOW’s money in

light of the publicly-filed civil forfeiture actions in the Central District of California and the announced

pending criminal investigation. MICHEL knew that JHO LOW was toxic to U.S. banks and that U.S.

banks did not want to deal with him or accept JHO LOW’s funds. HIGGINBOTHAM, MICHEL, and

JHO LOW used the aforementioned accounts and companies to disguise the true source, origin, and

purpose of the funds and, specifically, to conceal from U.S. financial institutions JHO LOW’s ownership,

control, and affiliation with these funds and transactions. Likewise, HIGGINBOTHAM and MICHEL



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caused false statements to be made to City National Bank, Morgan Stanley, and Citibank to conceal JHO

LOW’s connection with these funds and transactions, conceal the purpose of these transactions, and

effectuate the overall scheme.

                                              COUNT ONE

        49.     The United States incorporates by reference the allegations set forth in paragraphs 3

through 48 as if fully set forth herein.

        50.     The Defendant Properties are property that constitutes, and are derived from, proceeds

traceable to one or more instances of bank fraud, in violation of Title 18, United States Code, Section

1344; conspiracy to commit bank fraud, in violation of Title 18, United States Code, Section 371; and

false statements to a financial institution, in violation of Title 18, United States Code, Section 1014, each

of which is a specified unlawful activity as defined in Title 18, United States Code,

Sections 1956(c)(7)(A), 1956(c)(7)(B)(iv), and/or 1956(c)(7)(D), and a conspiracy to commit such

offenses.

        51.     As such, the Defendant Properties are subject to forfeiture to the United States, pursuant

to Title 18, United States Code, Section 981(a)(1)(C).

                                              COUNT TWO

        52.     The United States incorporates by reference the allegations set forth in paragraphs 3

through 48 as if fully set forth herein.

        53.     The Defendant Properties were involved in, and are traceable to property involved in, one

or more transactions or attempted transactions in violation of Title 18, United States Code, Section 1957,

and a conspiracy to commit such offenses, in violation of Title 18, United States Code, Section 1956(h).

Specifically, the Defendant Properties were involved in and are traceable to property involved in one or

more financial transactions, attempted transactions, and a conspiracy to conduct or attempt to conduct


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such transactions in criminally derived property of a value greater than $10,000 that was derived from

specified unlawful activities, namely: bank fraud, in violation of Title 18, United States Code, Section

1344; conspiracy to commit bank fraud, in violation of Title 18, United States Code, Section 371; and

false statements to a financial institution, in violation of Title 18, United States Code, Section 1014.

        54.     As such, the Defendant Properties are subject to forfeiture pursuant to Title 18, United

States Code, Section 981(a)(1)(A).

                                            COUNT THREE

        55.     The United States incorporates by reference the allegations set forth in paragraphs 3

through 48 as if fully set forth herein.

        56.     The Defendant Properties were involved in, and are traceable to property involved in, one

or more transactions or attempted transactions in violation of Title 18, United States Code, Section

1956(a)(1)(B)(i), and a conspiracy to commit such offenses, in violation of Title 18, United States Code,

Section 1956(h). Specifically, the Defendant Properties were involved in, and are traceable to property

involved in, one or more financial transactions or attempted transactions, and a conspiracy to conduct or

attempt to conduct such transactions involving the proceeds of specified unlawful activity, namely: bank

fraud, in violation of Title 18, United States Code, Section 1344; conspiracy to commit bank fraud, in

violation of Title 18, United States Code, Section 371; and false statements to a financial institution, in

violation of Title 18, United States Code, Section 1014, and were designed in whole or in part to conceal

or disguise the nature, the location, the source, the ownership or the control of the proceeds of the

specified unlawful activities, in violation of 18 U.S.C. § 1956(a)(1)(B)(i).

        57.     As such, the Defendant Properties are subject to forfeiture pursuant to Title 18, United

States Code, Section 981(a)(1)(A).




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                                             COUNT FOUR

        58.     The United States incorporates by reference the allegations set forth in paragraphs 3

through 48 as if fully set forth herein.

        59.     The Defendant Properties were involved in, and are traceable to property involved in, one

or more transactions or attempted transactions in violation of Title 18, United States Code, Section

1956(a)(2)(B)(i), and a conspiracy to commit such offenses, in violation of Title 18, United States Code,

Section 1956(h). Specifically, the Defendant Properties were involved in, and are traceable to funds that

were, and were attempted to be, transported, transmitted, or transferred, and a conspiracy to transport,

transmit, or transfer to a place in the United States from or through a place outside the United States, with

the knowledge that the funds involved in the transportation, transmission, or transfer represented the

proceeds of some form of unlawful activity, and knowledge that such transportation, transmission, or

transfer was designed in whole or in part to conceal or disguise the nature, the location, the source, the

ownership, or the control of the proceeds of specified unlawful activities, namely: bank fraud, in violation

of Title 18, United States Code, Section 1344; and false statements to a financial institution, in violation

of Title 18, United States Code, Section 1014.

        60.     As such, the Defendant Properties are subject to forfeiture pursuant to Title 18, United

States Code, Section 981(a)(1)(A).

                                                    ***




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                                     PRAYER FOR RELIEF
      WHEREFORE, the United States of America requests as follows:

      A.     that notice issue on the Defendant Proprieties as described above;

      B.     that due notice be given to all parties to appear and show cause why the forfeiture should
             not be decreed;

      C.     that a warrant of arrest in rem issue according to law;

      D.     that judgment be entered declaring that the Defendant Funds be forfeited to the United
             States of America for disposition according to law;

      E.     that the United States of America be granted such other relief as this Court may deem just
             and proper, together with the costs and disbursements of this action.

Dated: November 30, 2018
       Washington, D.C.
                                           Respectfully submitted,
                                           DEBORAH CONNOR
                                           Chief, Money Laundering &
                                                  Asset Recovery Section


                                           /s/ Joshua L. Sohn                a
                                           Woo S. Lee, DC Bar No. 486004
                                           Deputy Chief
                                           Joshua L. Sohn, CA Bar No. 250105
                                           Trial Attorney
                                           Rebecca A. Caruso, VA Bar No. 90613
                                           Trial Attorney
                                           Money Laundering & Asset Recovery Section
                                           1400 New York Avenue, N.W., 10th Floor
                                           Washington, D.C. 20005
                                           (202) 514-1263

                                           Counsel for Plaintiff, United States




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Joshua Sohn (202) 514-1263
Trial Attorney
1400 New York Avenue, N.W., 10th Floor
Washington, DC 20005
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       Defendant                    (Indicate Citizenship of
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18 U.S.C. Section 981 - Forfeiture of assets as proceeds of specified unlawful activities; involved in money laundering
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            11/30/2018                                                              /s/ Joshua L. Sohn
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      The JS-44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and services of pleadings or other papers as required
by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the
Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each civil complaint filed.
Listed below are tips for completing the civil cover sheet. These tips coincide with the Roman Numerals on the cover sheet.

            ,          COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF/DEFENDANT (b) County of residence: Use 11001 to indicate plaintiff if resident
                        of Washington, DC, 88888 if plaintiff is resident of United States but not Washington, DC, and 99999 if plaintiff is outside the United States.

            ,,,        CITIZENSHIP OF PRINCIPAL PARTIES: This section is completed only if diversity of citizenship was selected as the Basis of Jurisdiction
                        under Section II.

            ,9         CASE ASSIGNMENT AND NATURE OF SUIT: The assignment of a judge to your case will depend on the category you select that best
                        represents the primary cause of action found in your complaint. You may select only one category. You must also select one corresponding
                        nature of suit found under the category of the case.

            9,         CAUSE OF ACTION: Cite the U.S. Civil Statute under which you are filing and write a brief statement of the primary cause.

            9,,,       RELATED CASE(S), IF ANY: If you indicated that there is a related case, you must complete a related case form, which may be obtained from
                        the Clerk’s Office.

            Because of the need for accurate and complete information, you should endure the accuracy of the information provided prior to signing the form.
              Case 1:18-cv-02795 Document 1-2 Filed 11/30/18 Page 1 of 2



                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,


            Plaintiff,

                    v.

$37,564,565.25 in ACCOUNT NUMBER                       Civil Action No. 18-cv-2795
XXXXXXXX9515 AT MORGAN STANLEY, IN
THE NAME OF ANICORN LLC;

$21,113.21 in ACCOUNT NUMBER
XXXXXX9537 AT WELLS FARGO, N.A., IN
THE NAME OF ARTEMUS GROUP, LLC;

$25,002,568.63 in ACCOUNT NUMBER
XXXXXX1078 AT CITIBANK, IN THE NAME
OF HIGGINBOTHAM LAW P.C.;

$11,314,205.00 in ACCOUNT NUMBER
XXXXXX9974 AT CITIBANK, IN THE NAME
OF HIGGINBOTHAM LAW P.C.;

            Defendants in rem.



                             WARRANT FOR ARREST IN REM

   TO: THE UNITED STATES MARSHAL’S SERVICE AND/OR ANY OTHER DULY
   AUTHORIZED LAW ENFORCEMENT OFFICER:

          WHEREAS a Verified Complaint for Forfeiture In Rem has been filed in the
   United States District Court for the District of Columbia, on the 30th day of November,
   2018, alleging that the defendant property is subject to seizure and forfeiture to the
   United States pursuant to 18 U.S.C. § 981;

          YOU ARE, THEREFORE, HEREBY COMMANDED to serve the defendant
   property, thus bringing, within the jurisdiction of the Court, the said defendant property,


                                                1
           Case 1:18-cv-02795 Document 1-2 Filed 11/30/18 Page 2 of 2



more fully described as:

              $37,564,565.25 in ACCOUNT NUMBER XXXXXXXX9515 AT
              MORGAN STANLEY, IN THE NAME OF ANICORN LLC;

              $21,113.21 in ACCOUNT NUMBER XXXXXX9537 AT WELLS
              FARGO, N.A., IN THE NAME OF ARTEMUS GROUP, LLC;

              $25,002,568.63 in ACCOUNT NUMBER XXXXXX1078 AT
              CITIBANK, IN THE NAME OF HIGGINBOTHAM LAW P.C.;

              $11,314,205.00 in ACCOUNT NUMBER XXXXXX9974 AT
              CITIBANK, IN THE NAME OF HIGGINBOTHAM LAW P.C

       YOU ARE FURTHER COMMANDED to provide notice of this action to all
persons thought to have an interest in or claim against the defendant property by serving
upon such persons a copy of this warrant and the Verified Complaint In Rem, in a manner
consistent with the principles of service of process of an action in rem under the
Supplemental Rules for Certain Admiralty and Maritime Claims and Asset Forfeiture
Actions, and the Federal Rules of Civil Procedure.

       YOU ARE FURTHER COMMANDED, promptly after execution of this
process, to file the same in this Court with your return thereon, identifying the individuals
upon whom copies were served and the manner employed.




Dated: November 30, 2018
                                           ___________________________
                                           Clerk of the Court



                                   By:     ___________________________
                                           Deputy Clerk




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